Case: 1:16-cv-08637 Document #: 5422 Filed: 02/08/22 Page 1 of 4 PagelD #:313192

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

IN RE BROILER CHICKEN ANTITRUST Case No. 1:16-cv-08637
LITIGATION

This Document Relates To: All Actions SCHEDULING ORDER NO. 17
(FOR TRACK 1 ACTIONS)

 

 

This Scheduling Order No. 17 for all actions in which Plaintiffs have opted for Track 1
supersedes the Court’s previous Scheduling Order No. 2 (ECF Dkt. 574) issued on December 15,
2017, Scheduling Order No. 6 issued on September 13, 2018 (ECF Dkt. 1230), Scheduling Order
No. 9 issued on November 19, 2018 (ECF Dkt. 1416), Scheduling Order No. 12 issued on July 15,
2019 (ECF Dkt. 2322), Scheduling Order No. 13 issued on January 29, 2020 (ECF Dkt. 3420),
Scheduling Order No. 14 (ECF Dkt. 3788) issued on August 28, 2020, Scheduling Order No. 15
(ECF Dkt. 4641) issued on May 13, 2021, and Scheduling Order No. 16 (ECF Dkt. 4748) issued
on June 17, 2021. The parties are directed to the separate Search Methodology Order (ECF Dkt.
586) for any additional deadlines relating to the search of electronically stored information.
Additionally, the Court orders that the requirement of Fed. R. Civ. P. 45(a)(4) for notice to other
parties before service of a subpoena shall be 4 business days after the day notice and a copy of the
subpoena are provided, which shall be computed pursuant to Fed. R. Civ. P. 6(a)(1).

A party receiving objections or productions from a third party in response to a Rule 45
subpoena will serve a copy of those objections or documents on other parties within 7 days, unless
otherwise agreed. A party that receives a non-Bates numbered production (or production without

a load file) from a third party in response to a Rule 45 subpoena shall serve those documents on
Case: 1:16-cv-08637 Document #: 5422 Filed: 02/08/22 Page 2 of 4 PagelD #:313193

other parties within 10 days, unless otherwise agreed by the parties. A party receiving a production
from a third party in response to a Rule 45 subpoena that includes information relating to a

deposition scheduled within 7 days must notify all parties within 48 hours of receipt.

 

 

 

 

 

 

 

 

Event Deadline

Expiration of Stay on Depositions of DOJ-Requested To be determined
Witnesses and Topics by the Court
Deadline to Depose Plaintiffs’ Merits Experts! February 11, 2022
Defendants to Identify Merits Experts By Topics to Facilitate (ECF Dkt. 5302)
Scheduling”
Defendants’ Affirmative & Rebuttal Merits Expert Reports February 21, 2022
D

ue (ECF Dkt. 5302)
Deadline to Provide Initial Positions on Documents for Which March 11, 2022
Admissibility / Authenticity Stipulations Have Been
Requested
Deadline to Meet and Confer About Authenticity and April 22, 2022
Business Record Stipulations
Joint Submission on Any Additional Discovery Requested Per May 6, 2022
ECF Dkt. 3727 Concerning Evidentiary Issues Relating to
Documents
Deadline to Depose Defendants’ Merits Experts July 1, 2022

 

 

 

 

 

This deadline does not include the deposition of AWG’s liability expert, which the relevant
parties agreed to hold on February 15, 2022, with no impact on the remainder of the schedule.

2 The parties will identify by name any class certification expert who is also serving as a
merits expert. However, the parties need not identify by name any new experts disclosed at this
time, but instead can refer to them generically such as “Defendant Expert 2,” etc.
Case: 1:16-cv-08637 Document #: 5422 Filed: 02/08/22 Page 3 of 4 PagelD #:313194

 

 

Event Deadline
Plaintiffs’ Rebuttal Merits Expert Reports Due July 22, 2022

 

Deadline to Complete Depositions Previously Requested by
U.S. Department of Justice to be Stayed or Partially Stayed?

To be determined
by the Court

 

Deadline to Depose Plaintiffs’ Rebuttal Merits Experts

August 19, 2022

 

Summary Judgment Opening Briefs & Merits Daubert
Motions Filed*

September 9, 2022

 

Summary Judgment Responses & Merits Expert Daubert
Responses Filed

December 9, 2022

 

Summary Judgment Replies & Merits Expert Daubert Replies
Filed

January 27, 2023

 

First Trial Commences*

 

 

Fall of 2023
(Start date TBD after the
Court has considered the
parties’ 7/16/2021 trial
plan submissions)

 

 

3

The Court’s assumption underlying this Scheduling Order No. 17 for Track 1 Plaintiffs is

that Plaintiffs will be able to take the stayed depositions they need to take before they respond to
Defendants’ motions for summary judgment and before trial, as well as the depositions that are the
subject of currently-pending motions for protective orders. (See 5/7/21 Hr’g Tr. (ECF Dkt. 4625)
at 21-22; ECF Dkts. 4575, 4579, 4585, 4621).) This deadline also may not apply to other discovery
that may be deferred by agreement of the parties. Finally, deadline is subject to the outcome of the
DOJ’s recently motion to extend the stay to May 6, 2022 (ECF Dkt. 5325).

4

Pre-summary judgment motion conference with Judge Durkin to be set on a date to be

determined. The parties request that the conference take place at a time shortly after the Court

rules on class certification and related motions.
5

The Court will decide the number, sequence, and timing of trials at a later date.

 
Case: 1:16-cv-08637 Document #: 5422 Filed: 02/08/22 Page 4 of 4 PagelD #:313195

SO ORDERED.
if

Dated: February 6 2022

 

ON. JEFFREY T. GILBERT
.S. MAGKMTRATE JUDGE
